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 From:           Roy Foxall
 To:             Eth, Simon (USAFLM)
 Subject:        Gabriel Santos




 Hello:

 Here is a narrative of my post sentencing contact with Santos. Sentencing was July 29, 2019. I
 met with him on August 2, 2019, at the Charlotte County Jail. I discussed an appeal with him
 and that I had no basis to do so and he agreed. On August 29, 2019, I received a letter from
 him about his criminal history to which I responded. In early December, 2019, I received a
 letter requesting a bunch of items but was leaving the country and did not respond until
 January 28, 2020. His mother was also contacting my office. I sent you these items. He never
 requested an appeal nor did I ever receive the letters attached to his motion. Thanks.

 Roy
